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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                            -x          ~6..Ake.D
UNITED STATES OF AMERICA                               INDICTMENT

              - v.   -                                 10 Cr.       i\\L
FELIX TAPIA,

              Defendant.
                               - - -   --x
                                 COUNT ONE

              The Grand Jury Charges:

              On or about March IS, 2010, in the Southern Dis               t   of

New York and elsewhere, FELIX TAPIA, the defendant, being an

alien, after having been denied admission, excluded, deported,

and removed from the United States on or about March 6, 2001,

unlawfully did enter and was found in the United States, without

having obtained the           ss consent of the Attorney General of

the United States or his successor, the Secretary for the

Department of Homeland Security, to reapply for admission, and

did so subsequent to a conviction for the commission of a felony,

to wit, a conviction on or about August 11, 1997, in Ulster

County Court, for Assault in the Second Degree, in violation of

New York Penal Law section 120.05.

   (Title 8, United States Code, Sections 1326(a) and (b) (1).)



FORE PERSON                                PREET BHARARA
                                           United States Attorney
